 

 

FILED WITH FEE. [REF:FP 2:20-ev-10532 (A095-139-271 v. USDHS)

UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

 

ALEX ALFONSO SALAVERRIA CIVIL CASE No.
Plaintiff(s)
VS. BIVENS
Defendant(s) ACTION

THE UNITED STATES OF AMERICA
DEPARTMENT OF HOMELAND SECURITY

UNIDENTIFIED AGENTS ACTING IN THE NAME FILED 06.19.2021
OF HOMELAND SECURITY DISTRICT OF
[SPECIAL AGENT COLIN HOBBS] COLUMBIA

LAS VEGAS METRO POLICE DEPARTMENT
CLARK COUNTY CORRECTIONAL FACILITY
CITY OF LAS VEGAS

STATE OF NEVADA

LOS ANGELES SHERIFF’S DEPARTMENT
WEST HOLLYWOOD SHERIFF’S DEPARTMENT

CITY OF WEST HOLLYWOOD

LOS ANGELES COUNTY JAIL

CITY OF LOS ANGELES Case: 1:21-cv—01759 JURY DEMAND
BERKELEY POLICE DEPARTMENT Assigned To : McFadden, Trevor N.
CITY OF BERKELEY Assign. Date : 6/29/2021

ALAMEDA COUNTY JAIL Description: Pro Se Gen. Civ. (F-DECK)

STATE OF CALIFORNIA

MIAMI POLICE DEPARTMENT

MIAMI DADE COUNTY JAIL

KROME DETENTION CENTER

CITY OF MIAMI

FEDERAL BUREAU OF PRISONS

LA SALLE DETENTION FACILITY
STATE OF FLORIDA

FEDRAL BUREAU OF INVESTIGATION

 

Plaintiff demands trial by JURY
Plaintiff in the above captioned action, alleges as follows:

JURISDICTION

1. This is a CIVIL ACTION brought pursuant to Bivens v. Six Unknown
Agents of the Federal Bureau of Narcotics, 403 U.S. 388 (1971).
This court has jurisdiction over this action pursuant to 28 U.S.C.
§§ 1331 and 2201.

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PARTIES

2. A. PLAINTIFF: ALEX ALFONSO SALAVERRIA

ADDRESS: 14357 LANNING DRIVE
WHITTIER, CA 90604

3. A. DEFENDANT: THE UNITED STATES OF AMERICA

1. DEPARTMENT OF JUSTICE OF THE UNITED STATES
a. ATTORNEY GENERAL MERICK GARLAND
ADDRESS: 555 4TH STREET, NW
WASHINGTON D.C. 20001
B. DEFENDANT : DEPARTMENT OF HOMELAND SECURITY (USDHS)
1. SECRETARY ALEJANDRO MAYORKAS
2. UNIDENTIFIED AGENTS ACTING IN NAME OF THE
DEPARTMENT OF HOMELAND SECURITY (USDHS)
ADDRESS: 2707 Martin Luther King Jr Ave SE

Washington, DC 20528-0525
C. DEFENDANT: SPECIAL AGENT COLIN HOBBS “THE GENERAL”
ACTING IN THE NAME OF HOMELAND SECURITY
D. DEFENDANT : LAS VEGAS METRO POLICE DEPARTMENT
ADDRESS: 400 S. MARTIN L. BOULEVARD
LAS VEGAS, NV. 89106
1. SHERIFF JOSEPH LOMBARDO
2. OFFICERS INVOLVED ON [ILLEGAL ARREST 03.13.2020]
E. DEFENDANT: CLARK COUNTY DETENTION CENTER
1. CORRECTIONAL OFFICERS ON DUTY (03.13.20-03.15.20)
F. DEFENDANT: CITY OF LAS VEGAS
1. DISTRICT ATTORNEY CLARK COUNTY STEVE WOLFSON
ADDRESS: RJC CLARK COUNTY DISTRICT ATTORNEY, 3RD FL.
200 LEWIS AVENUE
LAS VEGAS, NV 89155
G. DEFENDANT: STATE OF NEVADA
1. STATE ATTORNEY GENERAL AARON D. FORD
ADDRESS: GRANT SAWYER BUILDING
555 E. WASHINGTON AVENUE SUITE 3900
LAS VEGAS, NV 89101

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H. DEFENDANT: BERKELEY POLICE DEPARTMENT
1. CHIEF OF POLICE JENNIFER LOIS
2. ALL OFFICER(S) INVOLVED IN (ILLEGAL ARREST January 31, 2019)
ADDRESS: 2100 MARTIN LUTHER KING JR WAY
BERKELEY, CA. 94704

I. DEFENDANT: ALAMEDA COUNTY JAIL
1. ALL CORRECTIONAL OFFICER(S) AT PROTECTIVE CUSTODY UNIT
(01.31.19- 02.05.19).
2. OFFICERS PRESENT WHEN BOARDING 02.05.2019 11:15 AM PST
LOS ANGELES SHERIFF’S DEPARTMENT TRANSPORTATION BUS.
ADDRESS: 5325 BRODER BLVD.
DUBLIN, CA. 94568

J. DEFENDANT : LOS ANGELES COUNTY JAIL
1. ALL CORRECTIONAL OFFICERS DURING (02.05.2019- 02.14.2019)
ADDRESS: 441 BAUCHET STREET
LOS ANGELES, CA. 90012
K. DEFENDANT : LOS ANGELES SHERIFF’S DEPARTMENT
1. SHERIFF ALEX VILLANUEVA
ADDRESS: 211 W. TEMPLE STREET
LOS ANGELES, CA 90012
L. DEFENDANT: THE CITY OF LOS ANGELES
1. DISTRICT ATTORNEY GEORGE GASCON
ADDRESS: CRIMINAL JUSTICE CENTER
210 WEST TEMPLE STREET, 19TH FLOOR
LOS ANGELES, CA. 90012
M. DEFENDANT: WEST HOLLYWOOD SHERIFF
1. DEPUTY SHERIFF TRENT A. MILES
ADDRESS: 780 N. SAN VICENTE BLVD.
WEST HOLLYWOOD, CA 90069
N. DEFENDANT: FEDERAL BUREAU OF INVESTIGATION (LOS ANGELES)
ADDRESS; 11000 WILSHIRE BLVD. UNIT 1700
LOS ANGELES, CA 90024
L. DEFENDANT: IMMIGRATION AND CUSTOMS ENFORCEMENT (ICE)
ADDRESS: 500 12th St SW WASHINGTON, DC 20536
O. DEFENDANT: FEDERAL BUREAU OF PRISONS
ADDRESS: 320 FIRST ST. NW WASHINGTON D.C. 20534

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P. DEFENDANT: KROME DETENTION CERNTER HOMESTEAD, FL.
ADDRESS: 18201 SW 12TH STREET MIAML FL 33194
Q. DEFENDANT: LA SALLE DETENTION FACILITY JENA, LA.
ADDRESS: 830 PINEHILL RD. JENA, LA 71342
R. DEFENDANT: CITY OF MIAMI
1. DISTRICT COUNTY ATTORNEY KATHERINE FERNANDEZ RUNDLE
ADDRESS: 1350 NW 12 AVENUE MIAMI, FL 33136
S. DEENDANT: MIAMI-DADE COUNTY JAIL
ADDRESS: 1321 NW 13TH ST. MIAMI, FL 33125
T. DEFENDANT: STATE OF FLORIDA
1. ATTORNEY GENERAL ASHLEY MOODY
ADDRESS: THE CAPITOL PL-01 TALLAHASSEE, FL 32399-1050

4. THE FACTS OF THE COMPLAINT AGAINST ALL DEFENDANTS

   

THE UNITED STATES OF AMERICA is here represented by the institutions and law
enforcement agencies, AND ACTING AGENT(S), PRIVATE ENTITIES,AND/ OR THIRD
PARTIES mentioned herein from letters A to T and therefore will answer to the ATTORNEY
GENERAL OF THE UNITED STATES and UNITED STATES DEPARTMENT OF
JUSTICE who is being sued as DEFENDANT: THE UNITED STATES OF AMERICA. ALL
DEFENDANTS MENTIONED HERE IN WILL REPRESENTED AS BEING PART OF
THE UNITED STATES OF AMERICA.

INTRODUCTION:

-Mr. ALEX ALFONSO SALAVERRIA for “THE RECORD” is a long term HIV-AIDS
SURVIVOR (Diagnosed by Dr. Margaret Fischl MD, University of Miami Miller School of
Medicine in June 2004. Therefore is considered HANDICAP and to have a “disability” since
the initial diagnosis and falls under the protection of the AMERICAN DISABILITIES ACT
(ADA). Since the year of 2009 Mr. ALEX ALFONSO SALAVERRIA has been ILLEGALLY
ARRESTED on numerous occasion(s). The initial ILLEGAL ARREST and DETENTION
was in consequence under “THE PRETENSE” of a LIE made by a FEDERAL OFFICER.

1.) (Please refer to EXHIBIT A) NTA/ DHS.
-During his detention he was placed in segregation due to his HIV POSITIVE status and
denied a proper diet to maintain his health, missed and was denied his daily HIV meds, and
placed in segregation because of his medical condition.
This action was once again under “THE PRETENSE” of a LIE of a FEDERAL OFFICER at
the Detention Facility overseen by the GEO GROUP in Jena, Louisiana.

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2.)(Please refer to EXHIBIT [B-Letter DHS] EXHIBIT [C-SEGREGATION-JENA]
During the one month and three weeks in FEDERAL DETENTION there were serious
violations to Civil Rights, Constitutional Rights, State Rights, Federal Rights, not to mention
major HUMAN RIGHTS violation(s) on US soil. During his Immigration Proceedings in
Federal Court Mr. ALEX SALAVERRIA represented himself in front of Federal Judge John
Duck Jr. in Oakdale, Louisiana. A Change of venue was granted and the case was transferred
to the Federal Court in Miami, FL.
-Mr. SALAVERRIA represented himself in Federal Court in front of Federal Judge Lourdes
Martinez-Esquivel and his papers (TPS-TEMPORARY PROTECTED STAUS) were
reinstated on September 10, 2010

3.) Please refer to EXHIBIT [D-JUDGES ORDER/MIAMI]].

-His heath was severely jeopardized and compromised. Mr. SALAVERRIA appointed the legal
services of Attorney Joseph Patrick Vredevelt/ THE COCHRAN FIRM SOUTH FLORIDA
(Criminal Division) to bring a Civil Rights law suit against the DEPARTMENT OF
HOMELAND SECURITY for violating his CIVIL and CONSTITUTIONAL Rights in 2010.
His health was severely affected during his detention, not to mention his medical and life
insurance lapsed in direct consequence of the ILLEGAL DETENTION. He moved to the
State of California shortly after.
-Since the year 2011, Mr. SALAVERRIA has been residing at 14357 Lanning Drive
Whittier, CA 90604. He informed of his address change as required by law and USCIS /USDHS.
He as well notified Attorney Vredevelt/ COCHRAN of his new address and residence.
He has renewed his (TPS) as required by law and (USDHS), however has noticed numerous
irregularities on several occasions.
-He has reported his concerns since 2010 to Diplomatic authorities and several authority
divisions in the United States of America.
-Mr. SALAVERRIA believes DEFENDANTS have been directly involved in either influencing
decisions made, or directly affecting the conduct of other Federal authorities and/ or Federal
Agents and that of LOCAL authorities involved in different scenarios through the years. The
Civil Rights law suit was never presented by Attorney Vredevelt/ COCHRAN although over
$10,000 USD was given as an “advance” for the Federal law suit therefore involving negligence

and legal malpractice.

4.) (Please refer to EXHIBIT [E- Vredevelt/ COCHRAN].

-Mr. SALAVERRIA came into a verbal agreement with Attorney Vredevelt, with the
involvement of Attorney Peter S. Heller (Legal Partner to COCHRAN FIRM Criminal
Division) where he would compensate the monies advanced for the law suit that was never
filed in the UNITED STATES District Court in Miami, FL.

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-Written communication and files are available as evidence and proof for review by this
Honorable Court. As of May 18, 2020 Attorney Vredevelt failed to provide the monies owed
to Mr. SALAVERRIA now for ten years. This directly affected his ability to file a new case, not

to mention seriously affected his finances for monies legally owed to him for the negligence

 

 

involved in the legal malpractice of the case. He believes (USDHS) has been directly involved
through illegally communicating private matters without legal jurisdiction or consent to third
parties, constituting HARASSMENT and INVASION OF PRIVACY.

-In 2016 his TEMPORARY PROTECTED STATUS (TPS) was withdrawn without justification
by a mistake of delivery of the USPS. This is a similar scenario to his (TPS) being withdrawn in
2006 that led to his ILLEGAL Detention by USDHS/ICE in 2009 although an APPEAL was

legally filed and unanswered at the time. In similar circumstances he legally filed an appeal.

PRIVACY- Federal Constitutional Rights, such as the Fourth Amendment, are rights that
individuals have to protect themselves against government actions. Tort rights, are rights that
individuals have against a wide variety of entities, such as private persons and business
entities, in addition to the government. Thus while the Fourth Amendment protects an
individual’s privacy from unjustified government intrusion, privacy torts protect an

individual’s privacy from other individuals, including the government.

“One who intentionally intrudes physically or otherwise, upon the solitude or seclusion of
another or his private affairs or concerns, is subject to liability to the other

for invasion of his privacy.”

-Mr. SALAVERRIA has informed of ILLEGAL SURVEILLANCE on numerous occasions
including the use of drones by unidentified government authorities.
In addition, he believes (USDHS) or Federal Agents acting in name of (USDHS) have disclosed
private matters, including confidential “Medical Records” which constitutes a
FEDERAL CRIME with legal consequences for those involved. In addition a premeditated
attempt to illegally place false evidence in his vehicle did in fact happen where attempts were
made against his life in an illegal covert operation by (USDHS) Federal Agents between the
State of California and Nevada on March 13, 2020. Because the illegal persecution from
unidentified vehicles started in the State of California on March 13, 2020 it would then violate
“California Sanctuary Law. “A point is clearly made that it is not the first time FEDERAL
AGENTS have LIED and FALSIFIED information to cover up for their crimes.”

5.) Please refer to EXHIBIT [F-INCIDENT REPORT LAS VEGAS]

7.) EXHIBIT [G- INCIDENT REPORT KOA-SEA/ ALASKA]

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The communication between DEFENDANTS and that involving LOCAL POLICE in the State
of California may be confirmed by the ILLEGAL ARREST of Mr. SALAVERRIA in
Berkeley, CA on January 31, 2019. There have been clear attempts to illegally prosecute him
on “bogus” charges so he would have no legal remedy to defend himself while being in
custody. While the charges involving the Berkeley Police Department on January 31, 2019
were dismissed as a (DA REJECT), during his Detention at the ALAMEDA COUNTY JAIL,
he was denied the adequate medical treatment even though of the disclosure of his HIV
POSITIVE status and being on antibiotics for an Upper Respiratory Infection at the time. He
was as well denied the proper diet to maintain his health. Although Mr. SALAVERRIA was
eligible for being released by posting ““BAIL” on a pending case in the County of Los Angeles,
his rights were clearly violated by obligating him to board the (Prisoner Transportation of the
LOS ANGELES SHERIFF’ S DEPARTMENT) when the “BAIL” required for his release
was legally posted 12 hours prior to him being obligated to board the inmate transportation
bus. It is very important to mention his personal property including (Cell phones, IPAD, and
personal MacBook Pro Computer) were kept by the Berkeley Police where he believes his
property was compromised by authorities to monitor his whereabouts and monitor his activity
ILLEGALLY, once again constituting INVASION OF PRIVACY and ILLEGAL
SURVEILLANCE. It was reported to the City of Berkeley, the Police Department
compromised his medications where over ($7,500.00 worth of HIV meds) were lost during this
ILLEGAL arrest in a PRIVATE Business setting violating his Constitutional Rights. This
clearly involved direct communication between (USDHS) Federal Agents and LOCAL
POLICE in Berkeley, Alameda County, and Los Angeles County, CA.

8.) Please refer to [EXHIBIT-H INCIDENT ALAMEDA COUNTY]

9.) [EXHIBIT- I INCIDENT LOS ANGELES COUNTY].

Mr. SALAVERRIA is aware under the circumstances involving this ILLEGAL arrest, the
attempt of being processed and booked by the LOS ANGELES COUNTY JAIL was to
solidify the pending case in his record where a WARRANT from (DHS) was presented that
confirms the communication between field agents and that of LOCAL POLICE.
“SB 54 CALIFORNIA SANCTUARY LAW limits how much local law enforcement can
cooperate with federal authorities to enforce immigration law.
During the ILLEGAL “Covert Operation” in Las Vegas, NV on March 13, 2020, DEFENDANTS
used a “Radio Frequency Vehicle Stopper” with high powered radiation which severely affected
Mr. SALAVERRIA. This technology is able to remotely control the activity of the human nervous
system. This can also incapacitate a human being not to mention, it can stop a human heart and
make someone die with sophisticated frequencies. (USDHS) Agents as well used LIGHT
EMITTING DIODE on two different locations: HOLIDAY ROYALE 4505 Paradise Road-
Residential PRIVATE PROPERTY where he was ILLEGALLY ARRESTED by LAS VEGAS
METRO POLICE under the instruction of DEFENDANTS and at the (TROPICANA/ NELLIS

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SHOPPING CENTER). This is available in the report made to Detective Richard Jones at
Internal Affairs LVMPD. During his ILLEGAL DETENTION at the Clark County Detention
Center, he was left in the non-processed inmate cell for close to 48 hours. Even though he was
wounded and taking antibiotics at the time, other than disclosing his HIV POSITIVE status, he
was not provided with medical treatment and denied his medications required to maintain his
health. He was not expected to survive at the time, and was released under the direct involvement
of Government of El Salvador contacting Homeland Security in Washington.

He was arrested under the false pretense of a LIE by DEFENDANTS implanting false evidence
of narcotics (cocaine) in his vehicle, and directly involving local LAS VEGAS METRO POLICE
Officers. His life was attempted against and direct threats were made against his life constituting
PREMEDITATED MURDER. His vehicle was illegally towed and vandalized. He as well
noticed during his the detention the presence of Officer Trent Miles from the West Hollywood
SHERIFF Station and the conversation between local Correction Officers at Clark County
Detention Center and Special Agent Colin Hobbs over a phone conversation at the facility.

 

Special Agent Colin Hobbs was present at the location of the Salvadoran Consulate (Parking Lot)
several days later where Mr. SALAVERRIA made a full declaration to Diplomatic Authorities
over this situation and harassment continued in Las Vegas where he was subject to continued
attempts against his life.
In a recent occurrence at his residence in California, his vehicle was again broken into and a
report was made with the LOS ANGELES SHERIFF’S DEPARTMENT:
10.) Report NORWALK-NWK20129-0104.

Several additional reports have been made of “mysterious occurrences” to the California Department
of Justice. A recent burglary theft report of documents stolen being delivered to to the Office of
Senator KAMALA D. HARRIS was made to SFPD (Report 200531221)

DHS Federal Agents are believed to be destroying evidence to cover up their crimes and with
premeditated intent to destroy evidence of their illegal activity.

—-Continued illegal surveillance has continued in the year 2021, and as of June 21, AGENT(S)
including CASEY HOBBS (wife te COLIN HOBBS) was identified near the residence of

Mr. Salaverria under again an “ILLEGAL?” operation in the State of California. Field Office of the
Federal Bureau of Investigation in Los Angeles, Office of the District Attorney

Los Angeles, California Department of Justice, (JEAN MANES- US EMBASSY Protocol

San Salvador, Embassy of El Salvador Washington DC, Office of Governor of California Gavin
Newsom, were duly informed of the continued illegal activity and evidence is on record for this case.
AGENT(S) have been in direct contact with the FBI, local Law Enforcement (LAPD) (LOS ANGELES
SHERIFF’S DEPARTMENT), again breaking procedures and established protocols violating State,
Federal, and Constitutional Laws. Furthermore all of the parties involved have “DESTROYED
LEGAL DOCUMENTS” constituting OBSTRUCTION OF JUSTICE. The District Attorney of

Los Angeles GEORGE GARCON, and the UNITED STATES DEPARTMENT OF JUSTICE must file
CRIMINAL CHARGES to all parties involved in CRIMINAL ACTIVITY,.

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GENERAL ALLEGATIONS
(Against All Defendants)
1.) That at all times herein mentioned, plaintiff ALEX ALFONSO SALAVERRIA (hereinafter
“PLAINTIFF”) was and is an individual residing in the City of West Hollywood and the
City of Whittier, County of Los Angeles, State of California.

2.)That at all times herein mentioned DEFENDANT : THE UNITED STATES OF AMERICA,
UNITED STATES DEPARTMENT OF JUSTICE (Attorney General Merrick B .Garland) and
all sub sequent agencies overseen by this Government institution will respond as DEFENDANT(S):
STATE OF CALIFORNIA (Attorney Rob Bonta), STATE OF FLORIDA (Attorney Ashley
Moody) STATE OF NEVADA (Attorney Aaron D. Ford) US DEPARTMENT OF
HOMELAND SECURITY / Director Alejandro Mayorkas [Agents Acting in the name of
USDHS, FEDERAL BUREAU OF INVESTIGATION, Corporate Institution(s) or Entities
representing or acting in the name of USDHS, as well as individual(s) acting in the name of
USDHS], Law Enforcement Agencies, Federal Detention Facilities, Correctional Facilities
(mentioned in this law suit), CITY OF LOS ANGELES (LA District Attorney GEORGE
GARCON), CITY OF LAS VEGAS ( Las Vegas Attorney STEVE B. WOLFSON): (herein after
“DEFENDANT(S)”) was and is a Government Agency, place of formation unknown, operating
and doing business within the State of California, among other State(s) of the United States of
America, whose address is 950 Pennsylvania Avenue NW Washington, D.C. 20530-0001.

3.) That the true names and capacities whether individual, corporate, associate, or otherwise of
defendants, DOES 1| to 1000, inclusive, and each of them, are unknown to PLAINTIFF (except for
Colin Hobbs, Casey Hobbs Trent Miles, and Jeffrey James Mumaugh)* who therefore sues said
DEFENDANT(S) by such fictitious names. PLAINTIFF will ask leave the court to amend this
complaint when remainder of names are ascertained. That each of the DEFENDANTS designated
herein as a DOE is negligently or wantonly responsible in some manner for the events and
happenings herein referred to, thereby causing damages proximately thereby to PLAINTIFF.

4.) In doing the things complained of each DEFENDANT was the agent and employee of his co-
Defendant and was acting within the course or scope of his agency and employment with the

knowledge and consent of each of said CO-DEFENDANTS.

5.) VIOLATION OF CIVIL AND CONSTITUTIONAL RIGHTS

 

Civil rights remedies come into play for willful police conduct that violates an individual's
constitutional rights. Section 1983 is the primary civil rights law victims of police misconduct rely

upon: False arrest (or false imprisonment).

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The Fourth Amendment of the U.S. Constitution provides that "the right of the people to be secure
in their persons, houses, papers, and effects, against unreasonable searches and seizures, shall not be
violated, and no Warrants shall issue, but upon probable cause, supported by Oath or affirmation,

and particularly describing the place to be searched, and the persons or things to be seized."

In general, most warrantless searches of private premises are prohibited under the Fourth
Amendment, unless specific exception applies. For instance, a warrantless search may be lawful, if
an officer has asked and is given consent to search; if the search is incident to a lawful arrest; if there
is probable cause to search and there is exigent circumstance calling for the warrantless search.
Exigent circumstances exist in situations where a situation where people are in imminent danger,

where evidence faces imminent destruction.

Gighth Amendment right to adequate medical care. Inmates suffering from healthcare neglect or
medical malpractice may bring a Section 1983 Lawsuit/ and or BIVENS ACTION against their jail

or prison or representing institution/ agency and employees for violating their civil rights.

“ Punishment varies in numerous circumstances however during the
“CTRUMP ADMINISTRATION)” —DEFENDANT has broken laws under the
assumption of ‘Federal Immunity” when acting in their assumption of breaches that concern

exposure of field agents in federal complaints.”

6.) VIOLATION OF THE PRIVACY ACT OF 1974/ INVASION OF PRIVACY
AND ILLEGAL SURVEILLANCE
“The Privacy Act of 1974 (5 U.S.C. § 552a) protects personal information held by the federal

government by preventing unauthorized disclosures of such information.” —— Individuals also

 

have the right to review such information, request corrections, and be informed of any

disclosures. “The Freedom of Information Act facilitates this procedure.”
*[PLEASE REFER TO ALL UNCIDENT REPORTS) EXHIBITS HEREIN

7.) PREMEDITATED MURDER/ ATTEMPT AGAINST PLAINTIFF

 

California Penal Code Section 664/187 — Attempted Murder “(State Law set as an example:
PLAINTIFF will pursue criminal charges through further investigations and request the
involvement of the California Department of Justice).”
The crime of “attempted murder” is covered under California Penal Code Section 664/187. In
general terms, if you attempt to kill someone, but they don’t die, then you will be facing a violent

crine charge of attempted murder. It’s important to note a crime is “attempted” when you had a

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specific intent to complete the act and you took a deliberate and direct step toward completing it.
Attempted murder is serious offense carrying substantial time in a California state prison.
18 U.S. Code $1111
(a) Murder is the unlawtul killing of a human being with malice aforethought. Every murder
perpetrated by poison, lying in wait, or any other kind of willful, deliberate, malicious, and
premeditated killing; or committed in the perpetration of, or attempt to perpetrate, any arson,
escape, murder, kidnapping, treason, espionage, sabotage, aggravated sexual abuse or sexual
abuse, burglary, or robbery; or perpetrated as part of a pattern or practice of assault or torture
against a child or children; or perpetrated from a premeditated design unlawfully and
maliciously to effect the death of any human being other than him who is killed, is murder in
the first degree.
Local State Law Enforcement Officers have violated California Sanctuary Law by
communicating private matters protected by law between agencies. By virtue of § 34 of the
Judiciary Act of 1789, state law expressed in constitutional and statutory form was regularly

applied in federal courts in diversity actions.

8.) DEFENDANTS have been and/or are directly involved with lying, falsifying information,
obtained information and disclosed illegally, and has communicated private confidential
information without legal disclosure or consent. DEFENDANTS have disclosed personal
“MEDICAL” information and records violating the (HIPPA Act).

9.)Numerous other agents are directly involved in the direct attempt against his life including
local law enforcement officers in the State of Nevada that inflicted harm under instruction of
DEFENDANTS.

Therefore in consequence DEFENDANTS have violated AMERICAN DISABILITIES ACT for a
“disabled person”, (Privacy protected by Amendment Four of the Constitution of the United
States) Constitutional Laws (IV, V, VIII) , Federal Laws, and State Laws in numerous states in

the union including California, Nevada, Washington, Louisiana, Hawaii, New York, and Florida.

FIRST CAUSE OF ACTION
(Negligence Against All Defendants)

 

10.) On or about the following date(s) and time(s): (April 20, 2009- MIAMI, FL, January 31, 2019-
February 15, 2019 -BERKLEY, CA/ LOS ANGELES, CA , March 13, 2020 LAS VEGAS, NV).
In or about April 20, 2009 PLAINTIFF was taken under custody by DEFENDANT(S) under the
pretense of a lie by stating PLAINTIFF had entered the United States illegally and was taken to the
KROME Facility in Homestead, Florida operated by DEFENDANT(S). At all times hereinafter

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mentioned PLAINTIFF was owed the highest duty of care at the PREMISES of all locations
mentioned in this suit represented by DEFENDANT(S).

11.) That at the said and time and place, DEFENDANT(S) each and every one of them, caused
damages to PLAINTIFF.

12.) That at the time and place, PLAINTIFF was illegally transported (like a convicted prisoner) to

 

another location in the State of Louisiana under the assumption of no further legal recourse to the
LA SALLE DETENTION FACILITY in Jena, LA (operated by the GEO GROUP) for the
DEFENDANT. PLAINTIFF was denied a proper diet and missed his required life saving
medication per being HIV POSITIVE and was placed in segregation due to his medical condition.

13.) That at the said time and place DEFENDANTS, negligently, wantonly, carelessly,
intentionally, and recklessly arrested PLAINTIFF without a (LEGAL) warrant, against his
will and without justification or excuse, and imprisoned for more than (1) MONTH and (3)
weeks at (3) different Detention in two different State(s) [Florida & Louisiana] facilities
operated by DEFENDANT.

14.) In or about January 31, 2019 DEFENDANTS negligently, wantonly, carelessly, intentionally,
and recklessly, made false accusations to the POLICE about PLAINTIFF, and as a result of
DEFENDANTS’ accusations, the BERKLEY POLICE falsely arrested PLAINTIFF without
justification or excuse. The accusations for what PLAINTIFF was being accused were dismissed by
the Oakland Court as a DA Reject. Although PLAINTIFF was eligible for (posted bail
IMMEDIATE RELEASE) DEFENDANTS who were acting negligently, wantonly, carelessly,
made false accusations about the PLAINTIFF whereas at the Santa Rita Correctional Facility
PLAINTIFF was not released per his right as DEFENDANT was in direct communications with
CALIFORNIA LAW ENFORCEMENT violating SANCTUARY LAW for crimes he did not

commit.

13.) That as a proximate result of the said acts of the DEFENDANTS, PLAINTIFF was obligated to
board the LOS ANGELES SHERIFFS PRISONER TRANSPORTATION so PLAINTIFF was
processed by the LOS ANGELES COUNTY JAIL for a pending case (not on his record at the time)
so on the intent of “due process” DEFENDANT would proceed in deportation proceedings for a
charge that would constitute a “deportable crime”. DEFENDANTS who were acting negligently,
wantonly, carelessly, and intentionally accusing PLAINTIFF of crimes he did not commit. Case was

dismissed by the Superior Court of California.

16.) That as a further proximate result of the said acts of the DEFENDANTS, PLAINTIFF did in
fact suffer the most severe humiliation, mental anguish, and emotional distress, all to his damage in

an amount to be shown according to proof.

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17.) That as a proximate result of said acts of the DEFENDANTS, PLAINTIFF sustained

severe bodily injuries to various parts of his body.

18.) In or about March 13, 2020 DEFENDANTS’ on an (illegal covert) operation that spanned
between the State of California (I-15) to the City of Las Vegas in the State of Nevada,
DEFENDANTS, negligently, wantonly, carelessly, intentionally, and recklessly, made false
accusations to the LAS VEGAS METRO POLICE DEPARTMENT, and as a result of the
DEFENDANTS accusations and direct involvement the LAS VEGAS METRO POLICE
DEPARTMENT arrived in a PRIVATE PROPERTY without a “legal warrant” unlawfully
arrested. detained, and cited PLAINTIFF for crimes which PLAINTIFF did not commit.

19.) That as a proximate result of a “reoccurring illegal conduct’”” DEFENDANT through their
direct involvement and without justification or excuse, PLAINTIFF was imprisoned for more
than (2) days at the CLARK COUNTY DETENTION CENTER without receiving any of his
life saving HIV Medications and antibiotic treatment for an infection he was suffering at the
time. As a further proximate result to this incident and said acts, PLAINTIFF suffered severe
bodily injuries to various parts of his body.

20.) That as a further proximate result of the said acts of the DEFENDANTS, and that of
other LAW ENFORCEMENT involved as stated herein under the instructions of
DEFENDANTS, PLAINTIFF did in fact suffer once again the most severe form of
humiliation, mental anguish and emotional distress, all to his damage in an amount to be

shown according to proof.

SECOND CAUSE OF ACTION
(Assault and Battery Against All Defendants)

 

20.) PLAINTIFF herby incorporates herein each and every allegation contained within
Paragraphs 1 through 20 in the (GENERAL ALLEGATIONS) set out in full herein.

21.) On or about the following date(s) and time(s): (April 20, 2009- MIAMI, FL, January 31, 2019-
February 15, 2019 -BERKLEY, CA/ LOS ANGELES, CA , March 13, 2020 LAS VEGAS, NV)
PLAINTIFF at all times herein mentioned was conducting himself in a respectable, peaceful, law-
abiding manner and did nothing to justify the acts of the DEFENDANTS as described herein.

22.) At the set time(s) and date(s), DEFENDANTS, intentionally, maliciously, wantonly, and
recklessly grabbed, handcuffed, punched, beat, and kicked PLAINTIFF and dragged PLAINTIFF to
numerous DETENTION FACILITIES in the States of FLORIDA, LOUISIANA, CALIFORNIA,
and NEVADA. He was unlawfully imprisoned (1) MONTH and (3) WEEKS between

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DETENTION FACILITIES in the States of FLORIDA and LOUISIANA, (3) WEEKS in the State
of CALIFORNIA, and (2) DAYS in the State of NEVADA.

23.) At all times herein mentioned, PLAINTIFF offered no resistance to the DEFENDANTS, and

DEFENDANTS had no reason, justification, or excuse to commit the above mentioned acts.

24.) PLAINTIFF sustained numerous injuries to his body and health due to his HIV condition, and

sustained further damages as shown according to proof.

25.) In doing the acts the acts as alleged above, DEFENDANTS intended to cause
PLAINTIFF physical harm and injury and to place PLAINTIFF in apprehension of harmful

and offensive contact.

26.) As a result of DEFENDANTS’ acts as alleged above PLAINTIFF in fact, was placed in

great apprehension of harmful and offensive contact.

27.) In doing the acts as alleged herein, DEFENDANTS did, in fact, create harmful and offensive
contacts with PLAINTIFF.

28.) As a proximate result of the acts of DEFENDANTS as alleged in causes of action, PLAINTIFF
was hurt and injured in his health, strength, and activity, sustaining numerous injuries to his head,
body, nervous system and person, and continue to cause, PLAINTIFF great mental, physical, and

nervous pain and suffering.

29.) As a further proximate result of the acts of DEFENDANTS, PLAINTIFF has incurred, and
will continue to incur medical, psychiatric, and related expenses. The full amount of these expenses
is not known to PLAINTIFF at this time. PLAINTIFF will move to amend this complaint to state

the amount when it becomes known, or on proof thereof.

30.) The aforementioned conduct of DEFENDANTS was willful and malicious and was intended to
oppress and cause injury to PLAINTIFF.

31.) That as a further proximate result of said acts of DEFENDANTS, PLAINTIFF did in fact
suffer the most severe humiliation, mental anguish and emotional distress, all to his damage in an

amount to be shown according to proof.

THIRD CAUSE OF ACTION
(Intentional Infliction of Emotional Distress Against All Defendants)

32.) PLAINTIFF herby incorporates herein each and every allegation contained within paragraphs
1 through 34 as set out in full in (GENERAL ALLEGATIONS).

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33.) On or about the following date(s) and time(s): (April 20, 2009- MIAMI, FL,

January 31, 2019- February 15, 2019 -BERKLEY, CA/ LOS ANGELES, CA ,

March 13, 2020 LAS VEGAS, NV) DEFENDANTS without warning, justification, defense or
privilege, grabbed, punched, beat, kicked, inflicted direct harm, against PLAINTIFF and
dragged PLAINTIFF to numerous DETENTION FACILITIES in several States as mentioned
in this suit. PLAINTIFF was unlawfully detained on numerous occasions as mentioned herein
for extensive periods of time without justification. DEFENDANTS have further assaulted
PLAINTIFF, in conscious and reckless and callous disregard of PLAINTIFFS well being, and
DEFENDANTS knew, or should have known, that their conduct would cause grave and
serious emotional harm, damage and distress to PLAINTIFF.

34.) At no times did PLAINTIFF commit any act which could serve as justification, defense,
or excuse for DEFENDANTS actions.

35.) Such conduct of the DEFENDANTS towards PLAINTIFF as herein described was

outrageous, intentional, reckless, and beyond all bounds of common decency.

36.) As a proximate result of the herein mentioned acts, PLAINTIFF did in fact suffer the
most severe humiliation, mental anguish and emotional distress, all to his damage in an

amount to be shown according to proof.

37.) Accordingly, DEFENDANTS acts constitute negligent infliction of emotional distress and
are liable to PLAINTIFF for all damages as a proximate result thereof.

FOURTH CAUSE OF ACTION
(Negligent Infliction of Emotional Distress Against All Defendants)

 

38.) PLAINTIFF hereby incorporates herein each and every allegation contained within
Paragraphs 1 through 40 as though set out in full in the (GENERAL ALLEGATIONS).

39.) On or about the following date(s) and time(s): (April 20, 2009- MIAMI, FL,

January 31, 2019- February 15, 2019 -BERKLEY, CA/ LOS ANGELES, CA ,

March 13, 2020 LAS VEGAS, NV) DEFENDANTS without warning, justification, defense or
privilege, grabbed, punched, beat, kicked, inflicted direct harm, against PLAINTIFF and
dragged PLAINTIFF to numerous DETENTION FACILITIES in several States as mentioned
in this complaint. PLAINTIFF was unlawfully detained on numerous occasions as mentioned
herein for extensive periods of time without justification. DEFENDANTS have further
assaulted PLAINTIFF, in conscious and reckless and callous disregard of PLAINTIFFS well
being, and DEFENDANTS knew, or should have known, that their conduct would cause grave
and serious emotional harm, damage and distress to PLAINTIFF.

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40.) As a proximate result of DEFENDANTS acts, PLAINTIFF suffered emotional harm,
damage, and distress. The full extent of such expenses incurred and to be incurred are
unknown to PLAINTIFF at this time, and leave of court will be asked to amend said

complaint to insert the correct amount when the same is ascertained.

41.) Said emotional harm, damage, and distress is accompanied by physical impact and
physical injury to PLAINTIFF by grabbing, punching, beating, kicking, and twisting the
body, inflicted direct harm, against PLAINTIFF and dragged PLAINTIFF to numerous
DETENTION FACILITIES in several States as mentioned in this complaint. PLAINTIFF
was unlawfully detained on numerous occasions as mentioned herein for extensive periods of
time without justification or cause where DEFENDANTS further assaulted PLAINTIFF.
Second DEFENDANTS proximately caused physical injuries to PLAINTIFF and further

injuries as shown according to proof.

42.) Accordingly, DEFENDANTS acts constitute negligent infliction of emotional distress and
are liable to PLAINTIFF for all damages as a proximate result thereof.

FIFTH CAUSE OF ACTION
(Negligent Hiring and Supervision Against All Defendants)

 

43.) PLAINTIFF hereby incorporates herein each and every allegation contained within
paragraphs 1 through 45 as though set out in full in (GENERAL DISCLOSURES).

44.) At all times herein mentions DEFENDANT(S) have knowledge and whereabouts of
PLAINTIFF through records pertained to the identification of (A095-139-271). As a foreign
citizen allowed to enter and remain legally in the United States of America, consequently, all
identified (ALIENS) are considered patrons of DEFENDANT(S) as United States of America

invitees to whom the highest degree of care is owed.

45.) DEFENDANTS knew, or should have known, that since the occupation as FEDERAL
AGENTS would possibly entail the use of physical force against foreign citizens identified as
(ALIENS). DEFENDANTS owe this respect to all foreign citizens legally in the United States
of America a high degree of care in the hiring, training, and supervision of its employees/
agents at all scopes pertaining to the FEDERAL GOVERNMENT where DEFENDANT

oversees herein.

46.) At all times herein mentioned DEFENDANT DOES 1-1000, were agents of the other
remaining DEFENDANT(S) as FEDERAL AGENTS in said division of the Federal

Government of the United States of America.

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47.) That, in fact DEFENDANT(S) failed to exercise the appropriate degree of care in the
hiring, training, investigating, and supervision of DEFENDANTS DOES 1-1000.

48.) That as a proximate result of the said acts misfeasance and nonfeasance of
DEFENDANT(S), and each of them PLAINTIFF was hurt and injured in PLAINTIFF’S
health, strength and activity, sustaining injuries to PLAINTIFF’S body and shock and
injuries to PLAINTIFE’S nervous system, all of which have caused and continue to cause
PLAINTIFF mental and physical pain and suffering and nervousness. PLAINTIFF was
required to employ physicians and health care providers to examine. treat, and care for
PLAINTIFF and did and continues to incur medical and incidental expenses which will be

shown according to proof,

SIXTH CAUSE OF ACTION
(FALSE IMPRISONMENT AGAINST ALL DEFENDANTS)

49.) PLAINTIFF herby incorporates herein each and every allegation contained within
paragraphs 1 to 54 as set out in full herein in (GENERAL ALLEGATIONS).

50.) .) On or about the following date(s) and time(s): (April 20, 2009- at location MIAMI, FL,
January 31, 2019- February 15, 2019 - at location BERKLEY, CA/ LOS ANGELES, CA ,

March 13, 2020 at location LAS VEGAS, NV) PLAINTIFF was intentionally dragged and
arrested with no justification(s) or cause(s) under the direct involvement of DEFENDANTS.
DEFENDANT(S) have lied to local authorities on (2) different instances. In doing the things
complained about LOCAL POLICE illegally arrested PLAINTIFF inflicting direct harm to
his health on (5) separate occasions by not providing a proper diet thus refusing to provide his
daily medications required to combat his HIV infection he suffers since initial diagnosis in the
year 2004. He has been confined to “Solitary Confinement” with the DEFENDANTS’ desire
to confine PLAINTIFF in the enclosed chamber among other serious violations on record.

51.) At said time(s) and place(s) DEFENDANTS physically restrained defendant by false

imprisonment and incarceration for some applicable time.

52.) At no time did PLAINTIFF consent to any of the aforementioned acts of DEFENDANTS,
nor did DEFENDANTS have any reason, justification, or excuse to commit any of these acts.
At all times relevant, PLAINTIFF was conducting himself in a peaceful and law-abiding

manner.

53.) As a proximate result of the mentioned acts, PLAINTIFF did in fact suffer serious bodily

injuries in an amount to be shown according to proof.

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54.) As a proximate result of the above mentioned acts, PLAINTIFF did in fact suffer the
most severe humiliation, mental anguish and emotional distress, all to his damage in an

amount to be shown according to proof.

SEVENTH CAUSE OF ACTION
(Defamation Against All Defendants)

 

55.) PLAINTIFF hereby incorporates herein each and every allegation contained within
Paragraphs 1 to 58 as though set out in full in (GENERAL ALLEGATIONS).

56.) On or about the following date(s) and time(s): (April 20, 2009- MIAMI, FL,

January 31, 2019- February 15, 2019 -BERKLEY, CA/ LOS ANGELES, CA ,

April 13, 2020 LAS VEGAS, NV) DEFENDANT(S), and each of them, made statements about
PLAINTIFF stating that PLAINTIFF was an “ILLEGAL ALIEN”, was a supposedly ‘Drug
Dealer’’, was an “Armed Robber”’’, was involved in “Grand Theft”. These statements were
completely FALSE and DEFENDANT(S) had no bases for uttering such false statements.

57.) Each of the above mentioned statements made by each DEFENDANT(S)was heard by
each of the other DEFENDANT(S), and, further, was heard by numerous other persons who

were at said described location(s) in different explained scenarios set forth herein.

58.) All of the above mentioned statements were unprivileged, and exposed PLAINTIFF to
hatred, contempt, ridicule, and disgrace. In addition, these statements caused PLAINTIFF to
be shunned and avoided, and had a tendency to injure PLAINTIFF in his occupation other
than inflicting a serious negative image to his name. Furthermore, these statements falsely
charged PLAINTIFF with the crimes of shop lifting, grand theft, drug violations, to which
PLAINTIFF has never been convicted, not to mention has defended by his right and all
FALSE accusations have been dismissed as established by law.

EIGHTH CAUSE OF ACTION
(VIOLATION OF THE UNRUH CIVIL RIGHTS ACT, CIVIL CODE § 51
AGAINST ALL DEFENDANTS)

 

59.) PLAINTIFF hereby incorporates herein each an every allegation contained between
Paragraphs 1 to 63 as though set in full herein in (GENERAL ALLEGATIONS).

60.) As set forth above, DEFENDANTS’ acts and omissions constitute violations of Unruh
Civil Rights Act, Civil Code § 51.

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61.) By reasons of DEFENDANTS’ unlawful acts, practices, and omissions, PLAINTIFF have
suffered monetary damages, humiliation, mental anguish, negative health impact, and physical
and emotional distress. PLAINTIFF has no adequate remedy at law to prevent the continuing
and unlawful conduct of DEFENDANT(S). PLAINTIFF has endured harassment and has
informed all LEGAL entities all the way to the California Department of Justice and to
Diplomatic Authorities of the Government of E] Salvador. In order to prevent the continuing
and unlawful conduct of DEFENDANT(S) and, unless enjoined, DEFENDANT(S)’ acts will
result in great irreparable injury to PLAINTIFF, and other foreign citizens being abused by
FALSE statements and reprehensible corrupt conduct by FEDERAL AGENTS at every level.

62.) The unlawful acts and practices of DEFENDANTS alleged herein were reckless and
willful, and caused great bodily harm to PLAINTIFF. Therefore, an award of punitive
damages, sufficient to punish DEFENDANTS and to serve as an example to deter them from
similar conduct in the future, should be made PLAINTIFF claims such amount of damages
together with pre-judgement interest thereon pursuant to California Code § 3287, 3288, and/
or any other applicable provision for prejudgment interest. Cal. Civ. Code § 3294(a) The
grounds to impose punitive damages in federal actions are similar to those of California
actions. [That one or more officers, directors, or managing agents of (Agents acting in the
name of DEFENDANTS) knew of the conduct constituting malice, oppression, and adopted
or approved that conduct after it occurred.] Clear and convincing evidence: Oppressive

conduct.

NINTH CAUSE OF ACTION
CALIFORNIA CONSTITUTION ARTICLE I, § 8 AGAINST ALL DEFENDANTS

63.) PLAINTIFF hereby incorporates herein each and every allegation contained within
Paragraphs 1 to 67 as though set out in full herein (GENERAL ALLEGATIONS).

64.) At all times mentioned herein, Article I, Section 8 of the California Constitution was in
full force and effect, and was binding on all DEFENDANTS. Article I, Section 8 requires

defendants to refrain from committing acts against public policy.

65.) In addition to the acts mentioned above, PLAINTIFF was improperly discriminated
against and harassed on the basis of his race and sexual orientation, not to mention his
medical condition of being HIV POSITIVE.

66.) The aforementioned conduct by DEFENDANTS constituted a violation of public policy in
violation of Article I, Section 8 of the California Constitution. Such unfair and arbitrary

conduct was a substantial factor in causing damage and injury to PLAINTIFF.

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67.) As a direct and proximate cause of DEFENDANTS unlawful acts, PLAINTIFF has been
damaged, and will continue to be damaged, on the account of lost income, and related
economic losses, including medical expenses, in such amount as shall be established by proof
at the time of trial. PLAINTIFF claims such amount as damages together with pre-judgement
interest thereon pursuant to California Civil Code § 3287, § 3288, and/ or any other applicable

provision providing for pre-judgement interest.

68.) As a further direct and proximate result of such acts, PLAINTIFF suffered and continues
to suffer severe emotional distress, humiliation, and mental anguish, and were damaged
thereby in such amount as shall be established by proof at the time of trial. PLAINTIFF claim
such amount as damages together with pre-judgement interest thereon pursuant to California
Civil Code §3287, §3288, and/ or any other applicable provision providing for pre-judgement

interest.

69.) In committing the unlawful acts herein alleged, DEFENDANTS acted fraudulently,
maliciously, and oppressively. By reason thereof, PLAINTIFF is entitled to recover punitive
damages in an amount to be established by proof at the time of trial. PLAINTIFF claims such
amount as damages together with pre-judgement interest thereon pursuant to California Civil
Code § 3287, § 3288, and/ or any other applicable provision providing pre-judgement interest.
The grounds to impose punitive damages in federal actions are similar to those of California

actions

70.) Furthermore PLAINTIFF will pursue criminal charges against certain DEFENDANTS
he has discovered through his own field investigation in due process with the California
Department of Justice and the Attorney General of the United States of America so all

involved individuals are brought to justice.

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PRAYER FOR RELIEF

 

WHEREFORE, PLAINTIFF prays for judgement against DEFENDANTS, and each of them

as follows:

ON THE FIRST, SECOND, THIRD, FOURTH, AND FIFTH CAUSES OF ACTION:

—_

. For general damages in an amount to be determined at the time of trial, pursuant to
California Code of Civil Procedure § 425.10 and §425.11. The grounds to impose punitive

 

damages in federal actions are similar to those of California actions;

 

2. For costs of medical and psychiatric care and treatment, and incidental expenses,

according to proof,
3. For loss of earnings and earning capacity, according to proof;
4. For costs of suit incurred herein;
5. For pre-judgement interest;
6. For such other and further relief as the court may deem just and proper

ON THE SECOND, THIRD, SIXTH, SEVENTH, EIGHTH, AND NINTH CAUSES
OF ACTION

1. For general damages in an amount to be DETERMINED at the time of trial, pursuant to
California Code of Civil Procedure § 425.10 and § 425.11, The grounds to impose punitive

damages in federal actions are similar to those of California actions;

2. For costs of medical and psychiatric care and treatment, and incidental expenses, according

to proof;
3. For loss of earnings and earning capacity, according to proof;
4. For costs of suit incurred herein
5. For pre-judgement interest;

[The Liability of the United States for the unconstitutional conduct of federal agents: As a

general proposition, the United States enjoys sovereign immunity.]

The Federal Tort Claims Act. 14, however, waives governmental immunity in actions for money

damages "'caused by the negligent or wrongful act or omission of any employee of the

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Government while acting within the scope of his office or employment. Thus, in contrast to
section 1983, which was construed in Monell to impose only direct liability on governmental
entities," the Federal Tort Claims Act makes the United States vicariously liable for the acts of its
employees. The Act contains numerous exceptions to the general rule of vicarious liability,
including section 2680(h), which in its original form immunized the government from liability in
Bivens false arrest actions." The section was amended in 1974 to provide that "with regard to
acts or omissions of investigative or law enforcement officers of the United States Government,
the provisions of [the Act imposing liability] shall apply to any claim arising out of assault,
battery, false imprisonment, ‘false arrest, abuse of process, or malicious prosecution. Although
the amendment makes no direct reference to Bivens, its legislative history indicates that Congress
intended to subject the United States to vicarious liability for violations of the fourth amendment.

Therefore, because of direct inflicting action to damage his reputation, by directly lying and
falsifying documents, Pre-meditated Murder, Life Endangerment, Illegal Surveillance, Invasion
of Privacy, Negative Health Impact, and direct infliction to Vandalism of Private Property, Pain
and Suffering, continued Harassment, Illegal disclosure of Medical Records without consent thus
violating the HIPAA Act and rule of PRIVATE disclosure, Violation of Privacy Laws protected by
the Fourth Amendment, Plaintiff ALEX ALFONSO SALAVERRIA requests this honorable court

to award: ]

A. Compensatory Damages: that accounts for past and future expenses, lost wages and pain

and suffering.

B. Punitive Damages: For the reckless conduct of the agents acting in the name of
DEFENDANTS; unreasonably risky without care, malicious; intending to harm another
without reason or justification and the intentional act or one with reckless indifference to
the rights of others. Cal. Civ. Code § 3294(a) The grounds to impose punitive damages in
federal actions are similar to those of California actions. [That one or more officers,
directors, or managing agents of (Agents acting in the name of DEFENDANTS) knew of
the conduct constituting malice, oppression, and adopted or approved that conduct after it

occurred.] Clear and convincing evidence: Oppressive conduct

C. Emotional Distress Damages: PLAINTIFF suffered personal injuries in addition to mental
distress, as a result of negligent or intentional misconduct by DEFENDANTS.

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IN THE AMOUNT OF
TWO HUNDRED AND FIFTY MILLION DOLLARS

“($250,000,000.00 USD)”

I declare under penalty of perjury that the following is true and correct.

am

ALEX ALFONSO SALAVERRIA (AO95-139-271)

JUNE 19, 2021

 

*(PLAINTIFF HERBY RESERVES THE RIGHT TO AMEND THIS COMPLAINT
IN THE CASE OF FURTHER HIRING LEGAL COUNSEL IN DUE PROCESS)

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[REF:FP 2:20-cv-10532 (A095-139-271 v. USDHS)

 

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06/21/2021

$11.25 9410 8036 9930 0138 2595 49 0712 5000 0082 0530
US POSTAGE

neuded ERIENY U.S. POSTAGE PAID
Signature Ccn-H Snip?

Confirmation

Mailed from 90604

 

PRIORITY MAIL 2-DAY™

 

ALEX A SALAVERRIA
14357 LANNING DR
WHITTIER CA 90604-1024

SIGNATURE REQUIRED

SHIP
TO: MERRICK B GARLAND

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UNITED STATES DEPARTMENT OF JUSTICE
950 PENNSYLVANIA AVE NW

WASHINGTON DC 20530-0001

 

USPS SIGNATURE TRACKING #

9410 8036 9930 0138 2595 49

SSS SS SS
Electronic Rate Approved #038555749

Expected Delivery Date: 06/25/21
Roeff#: N770TA

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I, ALEX ALFONSO SALAVERRIA A095-139-271 certifies the complaint was
served to the defending party on (06.21.2021)

PRIORITY MAIL United States Postal Service:

24

A095-139-271 vs. THE UNITED STATES OF AMERICA

 
